          CASE 0:22-cr-00226-NEB-TNL Doc. 29 Filed 09/23/22 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



United States of America,
                                                    Criminal No. 22-226 (NEB/TNL)
                     Plaintiff,

v.
                                                       ARRAIGNMENT ORDER
Haji Osman Salad (1),
and
Anab Artan Awad (3),

                     Defendants.



        A hearing was held before United States Magistrate Judge David T. Schultz on

September 20, 2022. Defendant Salad (1) was present in court with his attorney, Paul

Applebaum, Esq. The government was represented by Matthew Ebert and Joe

Thompson, Assistant United States Attorney.

        A hearing was held before United States Magistrate Judge John F. Docherty on

September 23, 2022. Defendant Awad (3) was present in court with his attorney, Eric

Rice, Esq. The government was represented by Matthew Ebert, Assistant United States

Attorney.

        Defendants identified themselves by name and birth date; waived the reading of

the indictment; and entered a plea of not guilty.

        Pursuant to Local Rule 12.1 (copy attached), IT IS HEREBY ORDERED

that:
             CASE 0:22-cr-00226-NEB-TNL Doc. 29 Filed 09/23/22 Page 2 of 4




        1.       The government must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by September 30, 2022. D. Minn. LR 12.1(a)(1). In order to

avoid the need for a recess of the motions hearing, the government is requested to make,

by September 30, 2022, all disclosures which will be required by Fed. R. Crim. P. 26.2

and 12(h).

        2.       Pursuant to the Due Process Protections Act, the Court confirms the United

States’ obligation to disclose to the defendant all exculpatory evidence- that is, evidence

that favors the defendant or casts doubt on the United States’ case, as required by Brady

v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders the United States to do so.

Failure to do so in a timely manner may result in consequences, including, but not limited

to, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt

proceedings, disciplinary action, or sanctions by the Court.

        3.       Defendant must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by October 7, 2022. D. Minn. LR 12.1(a)(2).

        4.       All motions in the above-entitled case must be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before October 14, 2022. 1

D. Minn. LR 12.1(c)(1). Two courtesy copies of all motions and responses must be

delivered directly to the chambers of Magistrate Judge Leung. 2




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        “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must confer with the responding
party. The parties must attempt in good faith to clarify and narrow the issues in dispute.” D. Minn. LR 12.1(b).
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        U.S. Mail or hand-deliver to 300 South Fourth Street, Suite 9W, Minneapolis, MN 55415.

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            CASE 0:22-cr-00226-NEB-TNL Doc. 29 Filed 09/23/22 Page 3 of 4




       5.       Counsel must electronically file a letter on or before October 14, 2022

if no motions will be filed and there is no need for hearing.

       6.       All responses to motions must be filed by October 28, 2022. D. Minn. LR

12.1(c)(2).

       7.       Any Notice of Intent to Call Witnesses must be filed by October 28, 2022.

D. Minn. LR. 12.1(c)(3)(A).

       8.       Any Responsive Notice of Intent to Call Witnesses must be filed by

November 2, 2022. D. Minn. LR 12.1(c)(3)(B).

       9.       A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

                a.    The government makes timely disclosures and Defendant identifies
                      in the motions particularized matters for which an evidentiary
                      hearing is necessary; or

                b.    Oral argument is requested by either party in its motion, objection or
                      response pleadings.

       10.      If required, the motions hearing must be heard before Magistrate Judge

Tony N. Leung on November 7, 2022, at 9:00 a.m., in Courtroom 9W, U.S.

Courthouse, 300 South Fourth Street, MINNEAPOLIS, Minnesota. D. Minn. LR

12.1(d).

       11.      TRIAL:

                a.    IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT:

the following trial and trial-related dates are:



                                              3
        CASE 0:22-cr-00226-NEB-TNL Doc. 29 Filed 09/23/22 Page 4 of 4




             All voir dire questions and jury instructions must be submitted to District

Judge Nancy E. Brasel on or before November 14, 2022.

             This case must commence trial on November 28, 2022, at 9:00 a.m. before

District Judge Nancy E. Brasel in Courtroom 13W, U.S. Courthouse, 300 South Fourth

Street, MINNEAPOLIS, Minnesota.

             b.       IF PRETRIAL MOTIONS ARE FILED, the trial date, and

other related dates, will be rescheduled following the ruling on pretrial motions.

Counsel must contact the Courtroom Deputy for District Judge Brasel to confirm

the new trial date.




Dated: September 23, 2022                s/Tony N. Leung
                                         TONY N. LEUNG
                                         United States Magistrate Judge




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